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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on January 8, 2021
UNITED STATES OF AMERICA : CRIMINAL NO.

v. : MAGISTRATE NO. 21-MJ-244

THOMAS WEBSTER, : VIOLATIONS:
: 18 U.S.C. § 111(a)(1) and (b)
Defendant. :  (Assaulting, Resisting, or Impeding
: Certain Officers Using a Dangerous

Weapon)
18 U.S.C. § 231(a)(3)
(Civil Disorder)
18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)
18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)
18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct Within the Capitol
Grounds or Buildings)
40 U.S.C. § 5104(e)(2)(F)
(Act of Physical Violence Within the
Capitol Grounds or Buildings)

INDICTMENT
The Grand Jury charges that:

COUNT ONE
On or about January 6, 2021, within the District of Columbia, THOMAS WEBSTER,

using a deadly or dangerous weapon, that is, a metal flagpole, did forcibly assault, resist, oppose,
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impede, intimidate, and interfere with, an officer and employee of the United States, and of any
branch of the United States Government (including any member of the uniformed services), and
any person assisting such an officer and employee, that is, Officer N.R., an officer from the
Metropolitan Police Department, while such officer or employee was engaged in or on account of
the performance of official duties.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, THOMAS WEBSTER,
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer, that is, Officer N.R., an officer from the Metropolitan Police Department,
lawfully engaged in the lawful performance of his/her official duties incident to and during the
commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely affected
the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, THOMAS WEBSTER, did
unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President and Vice President-elect were temporarily visiting, without lawful authority to
do so, and, during and in relation to the offense, did use and carry a deadly and dangerous weapon,
that is, a metal flagpole.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)C1)(A))
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COUNT FOUR
On or Bout January 6, 2021, within the District of Columbia, THOMAS WEBSTER, did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions, and, during and in relation to the
offense, did use and carry a deadly and dangerous weapon, that is, a metal flagpole.
(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section
1752(a)(2) and (b)(1)(A))
COUNT FIVE
On or about January 6, 2021, within the District of Columbia, THOMAS WEBSTER, did
knowingly engage in any act of physical violence against any person and property in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President and Vice President-elect were
temporarily visiting, and, during and in relation to the offense, did use and carry a deadly and

dangerous weapon, that is, a metal flagpole.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b)C)(A))
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COUNT SIX
On or about January 6, 2021, within the District of Columbia, THOMAS WEBSTER,
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress.

(Disorderly Conduct Within the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(D))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, THOMAS WEBSTER,
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capitol Buildings.

(Act of Physical Violence Within the Capitol Grounds or Buildings, in violation of Title
40, United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

 

Pade Jere.

Attorneyof the United’ States in
and for the District of Columbia.
